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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


 QORVO, INC.,                                      )
                                                   )
         Plaintiff,                                )
                                                   )
                                                   )    Case No. 1:21-cv-01417-JPM
 v.                                                )
                                                   )
 AKOUSTIS TECHNOLOGIES, INC., and                  )
 AKOUSTIS, INC.,                                   )
                                                   )
        Defendants.                                )


                                   PERMANENT INJUNCTION


       For the reasons set out in the Court’s Order Granting In Part and Denying In Part

Plaintiff’s Motion for Permanent Injunctive Relief (ECF No. 709), the following injunctive relief

is granted:

       1. Permanent Injunction on Use of Qorvo Trade Secret Information

                a. Akoustis, its officers, agents, servants, employees, distributors and resellers of

                      any type, and all those persons in active concert or participation with any of

                      them who receive actual notice of this order by personal service or otherwise,

                      are permanently enjoined from performing any of the following actions:

                          i. Possessing, accessing, reviewing, using, or disclosing Qorvo Trade

                             Secret Information, in whole or in part, anywhere in the world;

                         ii. Offering to sell, selling, or otherwise distributing anywhere in the

                             world any product made using Qorvo Trade Secret Information;




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                  iii. Advertising, promoting, offering to sell, or otherwise providing

                       services anywhere in the world that use Qorvo Trade Secret

                       Information.

     2. Removal and Quarantine of Confidential Qorvo Information

           a. Akoustis, its officers, agents, servants, employees, distributors and resellers of

               any type, and attorneeys, and all those persons in active concert or

               participation with any of them who receive actual notice of the order by

               personal service or otherwise, shall undertake the following steps to remove

               from their possession and quarantine any confidential Qorvo information (as

               set forth in Part 2.a.iii), as follows:

                   i. Akoustis will, at its own expense, engage an e-discovery vendor that is

                       approved in advance in writing by Qorvo, to assist with the

                       identification, collection, and removal of any Qorvo confidential

                       information;

                   ii. Akoustis will inspect the following data sources in its possession:

                           1. Any database, document management system, or other shared

                               storage in use at Akoustis;

                           2. The mailboxes contained in Akoustis’ corporate email servers

                               for all Akoustis employees, and, upon documented and

                               disclosed probable cause to believe that employees’ personal

                               email accounts were used to transmit, download, or upload

                               Qorvo trade secrets, those email accounts;




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                          3. Akoustis computers, laptops, hard drives, and other storage

                              media (including USB drives and network-based storage

                              drives) belonging to all Akoustis employees; and

                          4. Paper files belonging to Akoustis employees and kept on

                              Akoustis property or related to the employees’ work at

                              Akoustis.

                  iii. Akoustis will remove from its possession and quarantine the

                      following:

                          1. Qorvo Trade Secret Information

                          2. All    other   documents       that   contain    confidential    Qorvo

                              information (either indicated as Qorvo-confidential by the

                              information itself or otherwise known to be Qorvo-confidential

                              by   Akoustis)     obtained     or   received     without      Qorvo’s

                              authorization or in violation of any obligation to maintain the

                              confidentiality of that information.

     3. Qorvo Audit Rights

           a. In order to monitor compliance with Parts 1 and 2 of this Permanent

               Injunction Order, Qorvo shall, for a period of four years from the issuance of

               this Order, have the right to conduct audits of Akoustis, its officers, agents,

               servants, employees, distributors and resellers of any type, and attorneys, and

               all those persons in active concert or participation with any of them who

               receive actual notice of the order by personal service or otherwise, as follows:




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                 i. Qorvo may audit, through audits conducted by an independent third

                    party chosen by Qorvo, and in compliance the Protective Order in this

                    case, the following data sources in Akoustis’ possession;

                         1. Any database, document management system, or other shared

                            storage in use at Akoustis;

                         2. The mailboxes contained in Akoustis’ corporate email servers

                            for all Akoustis employees, and, upon documented and

                            disclosed probable cause to believe that employees’ personal

                            email accounts were used to transmit, download, or upload

                            Qorvo trade secrets, those email accounts;

                         3. Akoustis computers, laptops, hard drives, and other storage

                            media (including USB drives and network-based storage

                            drives) belonging to all Akoustis employees; and

                         4. Paper files belonging to Akoustis employees and kept on

                            Akoustis property, or related to the employees’ work at

                            Akoustis.

                 ii. Upon request, the auditor shall be given access to any other data

                    sources reasonably necessary to determine whether Akoustis is in

                    compliance with Parts 1 and 2 of this Permanent Injunction, including

                    data sources sufficient to show how Akoustis is performing trimming

                    and reliability testing with respect to BAW filters.

                iii. The findings of such audits will be available only to Qorvo’s outside

                    attorneys, the independent third-party auditor, the Court, and Akoustis



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                       and its attorneys. Notwithstanding the foregoing, Qorvo’s outside

                       attorneys may be permitted to provide a summary of the finding of

                       such audits to Qorvo’s in-house attorneys. Any summary must comply

                       with the terms of the Protective Order entered in this case.

                   iv. If the auditor finds that Akoustis may not be in compliance with the

                       terms of this Order, the auditor shall provide written notice and a copy

                       of his findings to Akoustis and one of Qorvo’s in-house attorneys to

                       permit Qorvo to understand the reason(s) and extent of Akoustis’

                       noncompliance.

                    v. The audits may be conducted a maximum of one per calendar year,

                       during the course of normal business hours, and upon electronic or

                       written notice of at least five business days to Akoustis. The parties

                       will use good faith efforts to conduct the audit in a manner least

                       disruptive to Akoustis’ normal business activities. The cost of any

                       audit shall be born equally by Akoustis (50%) and Qorvo (50%). In

                       the event an audit shows a violation of this Permanent Injunction

                       Order, the cost of the audit shall be borne exclusively by Akoustis.

             b. If no violations are found after 2 years, Qorvo’s audit rights will

                presumptively expire after 2 years.

     4.   Permanent Injunction on Infringement of the ‘018 and ‘755 Patents

             a. Akoustis and any of its officers, agents, servants, directors, employees,

                attorneys, subsidiaries, successors in interest, and all those persons in active

                concert or participation with such persons who receive actual notice of this



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               Order by personal service or otherwise, are permanently enjoned and

               restrained from making, using, selling, or offering for sale within the United

               States, or importing into the United States:

                    i. The ‘018 Patent Enjoined Products or any products not more than

                      colorably different from the ‘018 Patent Enjoined Products from the

                      Effective Date (which is fourteen (14) days from the date of this

                      signed Permanent Injunction) through the expiration of the ‘018

                      Patent;

                   ii. The ‘755 Patent Enjoined Products or any products not more than

                      colorably different from the ’755 Patent Enjoined Products from the

                      Effective Date through the expiration of the ‘755 Patent.

     5. For the purposes of this injunction, the term “’018 Patent Enjoined Products” means

        the following Akoustis BAW filter products the jury found to infringe the ‘018

        patent: A10149, A10154, A10155, A10156, A10158, A10160, A10165, A10166,

        A10235, A10238, A10249, A10252, A10256, A10266, A10335, AKF-1256, AKF-

        1256, AKF-1336, AKF-1938.

     6. For the purposes of this injunction, the term “’755 Patent Enjoined Products” means

        the following Akoustis BAW filter products the jury found to infringe the ‘755

        Patent: A10149, A10154, A10155, A10156, A10160, A10165, A10166, A10235,

        A10238, A10249, A10256, A10266, A10335, AKF-1252, AKF-1256, AKF-1336,

        AKF-1938.

     7. For the purpose of this injunction, the term “Qorvo Trade Secret Information” means

        any confidential information copied or derived from, in whole or in part, the



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        following trade secrets that the jury found Akoustis to have misappropriated

        (identified here by trade secret number and citation to trial exhibit):

           a. Group 2: Qorvo BAW filter and resonator designs

                    i. Trade Secret 2.1

                           1. Trial Ex. 8 (PTX-0078) at page 4

                           2. Trial Ex. 46 (PTX-0007) at page 2

                   ii. Trade Secret 2.2

                           1. Trial Ex. 9 (PTX-0149) at page 3

                           2. Trial Ex. 44 (PTX-0005) at page 3

                           3. Trial Ex. 45 (PTX-0006) at page 2

                  iii. Trade Secret 2.3

                           1. Trial Ex. 9 (PTX-0149) at pages 14–16

                           2. Trial Ex. 44 (PTX-0005) at pages 14–16

                           3. Trial Ex. 45 (PTX-0006) at pages 3–5

                   iv. Trade Secret 2.4

                           1. Trial Ex. 9 (PTX-0149) at page 17

                           2. Trial Ex. 44 (PTX-0005) at page 17

                           3. Trial Ex. 45 (PTX-0006) at page 6

                   v. Trade Secret 2.5

                           1. Trial Ex. 9 (PTX-0149) at page 19

                           2. Trial Ex. 44 (PTX-0005) at page 19

                   vi. Trade Secret 2.6

                           1. Trial Ex. 9 (PTX-0149) at page 24



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                         2. Trial Ex. 44 (PTX-0005) at page 24

                vii. Trade Secret 2.7

                         1. Trial Ex. 9 (PTX-0149) at page 11

                         2. Trial Ex. 44 (PTX-0005) at page 11

                         3. Trial Ex. 45 (PTX-0006) at pages 12

               viii. Trade Secret 2.8

                         1. Trial Ex. 10 (PTX-0720) at page 4

                ix. Trade Secret 2.9

                         1. Trial Ex. 10 (PTX-0720) at page 8

                 x. Trade Secret 2.10

                         1. Trial Ex. 10 (PTX-0720) at page 10

                xi. Trade Secret 2.11

                         1. Trial Ex. 10 (PTX-0720) at page 15

                xii. Trade Secret 2.12

                         1. Trial Ex. 10 (PTX-0720) at page 23

               xiii. Trade Secret 2.13

                         1. Trial Ex. 10 (PTX-0720) at page 24

               xiv. Trade Secret 2.14

                         1. Trial Ex. 10 (PTX-0720) at page 29

                xv. Trade Secret 2.15

                         1. Trial Ex. 10 (PTX-0720) at page 36

               xvi. Trade Secret 2.16

                         1. Trial Ex. 10 (PTX-0720) at page 37



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           b. Group 3: Qorvo’s trimming method and procedures

                  i. Trade Secret 3.1

                         1. Trial Ex. 11 (PTX-1141) at page 16

                         2. Trial Ex. 12 (PTX-0453) at page 2

                         3. Trial Ex. 209 (PTX-0421) at page 2

                         4. Trial Ex. 213 (PTX-0438) at page 11

                         5. Trial Ex. 217 (PTX-0662) at pages 10

                         6. Trial Ex. 220 (PTX-0721) at page 11

                 ii. Trade Secret 3.2

                         1. Trial Ex. 11 (PTX-1141) at page 17

                         2. Trial Ex. 12 (PTX-0453) at page 3

                         3. Trial Ex. 209 (PTX-0421) at page 3

                         4. Trial Ex. 213 (PTX-0438) at pages 4 and 12

                         5. Trial Ex. 217 (PTX-0662) at pages 8 and 11

                         6. Trial Ex. 220 (PTX-0721) at pages 9 and 12

                 iii. Trade Secret 3.3

                         1. Trial Ex. 11 (PTX-1141) at page 18

                         2. Trial Ex. 12 (PTX-0453) at page 4

                         3. Trial Ex. 209 (PTX-0421) at page 4

           c. Group 4: Qorvo’s evaluation board design rules and schematics

                  i. Trade Secret 4.1

                         1. Trial Ex. 13 (PTX-1142) at page 1

           d. Group 5: Qorvo’s product development process and testing procedures



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                  i. Trade Secret 5.4

                         1. Trial Ex. 33 (PTX-0111) at overview, specification, and

                             production test tabs

                         2. Trial Ex. 34 (PTX-0114) at overview and specification tabs

                         3. Trial Ex. 76 (PTX-0112) at overview and specification tabs

                         4. Trial Ex. 79 (PTX-0116) at overview and specification tabs

                         5. Trial Ex. 80 (PTX-0117) at overview and specification tabs

                         6. Trial Ex. 83 (PTX-0120) at overview and specification tabs

                  ii. Trade Secret 5.5

                         1. Trial Ex. 7 (PTX-1089) at pages 1–2

                         2. Trial Ex. 33 (PTX-0111) at overview, specification, and

                             production test tabs

                         3. Trial Ex. 34 (PTX-0114) at overview and specification tabs

                         4. Trial Ex. 35 (PTX-0088) at specification tab (with guard band

                             file), test specification, and conditions tab

                         5. Trial Ex. 61 (PTX-0089) at page 2

                         6. Trial Ex. 76 (PTX-0112) at overview and specification tabs

                         7. Trial Ex. 79 (PTX-0116) at overview and specification tabs

                         8. Trial Ex. 80 (PTX-0117) at overview and specification tabs

                         9. Trial Ex. 83 (PTX-0120) at overview and specification tabs

           e. Group 6: Qorvo’s systems at processes, and procedures for testing reliability

              and mean-time-to-failure of parts

                  i. Trade Secret 6.1



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                         1. Trial Ex. 14 (PTX-0099) at pages 6 and 24

                         2. Trial Ex. 68 (PTX-0101) at pages 6 and 24

                         3. Trial Ex. 70 (PTX-0103) at pages 6 and 24

                         4. Trial Ex. 73 (PTX-0107) at pages 6 and 24

                         5. Trial Ex. 110 (PTX-0105) at pages 6 and 24

                 ii. Trade Secret 6.3

                         1. Trial Ex. 14 (PTX-0099) at pages 15–17

                         2. Trial Ex. 68 (PTX-0101) at pages 15–17

                         3. Trial Ex. 70 (PTX-0103) at pages 15–17

                         4. Trial Ex. 73 (PTX-0107) at pages 15–17

                         5. Trial Ex. 110 (PTX-0105) at pages 15–17

                 iii. Trade Secret 6.4

                         1. Trial Ex. 14 (PTX-0099) at pages 15–17

                         2. Trial Ex. 68 (PTX-0101) at pages 15–17

                         3. Trial Ex. 70 (PTX-0103) at pages 15–17

                         4. Trial Ex. 73 (PTX-0107) at pages 15–17

                         5. Trial Ex. 110 (PTX-0105) at pages 15–17

                 iv. Trade Secret 6.5

                         1. Trial Ex. 14 (PTX-0099) at pages 15–17

                         2. Trial Ex. 68 (PTX-0101) at pages 15–17

                         3. Trial Ex. 70 (PTX-0103) at pages 15–17

                         4. Trial Ex. 73 (PTX-0107) at pages 15–17

                         5. Trial Ex. 110 (PTX-0105) at pages 15–17



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                     v. Trade Secret 6.6

                            1. Trial Ex. 14 (PTX-0099) at page 23

                            2. Trial Ex. 68 (PTX-0101) at page 23

                            3. Trial Ex. 70 (PTX-0103) at page 23

                            4. Trial Ex. 73 (PTX-0107) at page 23

                            5. Trial Ex. 110 (PTX-0105) at page 23

             f. Group 7: Qorvo’s manufacturing and assembly procedures

                     i. Trade Secret 7.2

                            1. Trial Ex. 37 (PTX-0751) at pages 7 and 9


      The Court retains jurisdiction to enforce this Permanent Injunction.


      IT IS SO ORDERED, this 15th day of October, 2024.

                                                    /s/ Jon P. McCalla
                                                    JON P. McCALLA
                                                    UNITED STATES DISTRICT JUDGE




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